       Case 5:15-cv-02207-MHH Document 156 Filed 10/29/18 Page 1 of 43            FILED
                                                                         2018 Oct-29 PM 04:52
                                                                         U.S. DISTRICT COURT
                                                                             N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                     NORTHEASTERN DIVISION

GEMSTONE FOODS, LLC et al.,           }
                                      }
       Plaintiffs,                    }
                                      }
v.                                    }         Case No.: 5:15-cv-2207-MHH
                                      }
AAA FOODS ENTERPRISES,                }
INC.; et al.,                         }
                                      }
     Defendants.                      }



                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                     NORTHEASTERN DIVISION

MICHAEL ENSLEY, et al.,                   }
                                          }
       Plaintiffs,                        }
                                          }
v.                                        }   Case No.: 5:15-cv-01179-MHH
                                          }
BEN O. TURNAGE, et al.,                   }
                                          }
     Defendants.                          }


PLAINTIFFS’ MEMORANDUM IN SUPPORT OF MOTION TO STRIKE
 AND/OR DISALLOW AMENDED ANSWER AND COUNTERCLAIMS
     OR, ALTERNATIVELY, TO DISMISS COUNTERCLAIMS
                  UNDER RULE 12(b)(6)
      Case 5:15-cv-02207-MHH Document 156 Filed 10/29/18 Page 2 of 43



      COME NOW Gemstone Foods, LLC, and RCF, LLC, (“Plaintiffs”), through

counsel, and file their Memorandum in Support of Motion to Strike and/or Disallow

Amended Answer and Counterclaims under Rule 12(f) or, Alternatively, to Dismiss

Counterclaims under Rule 12(b)(6):

                                INTRODUCTION

      This Court should strike and/or disallow Defendants’ Amended Answer and

Counterclaims for abuse of process, breach of contract, fraudulent inducement,

violation of the Alabama Sales Representative’s Contract Act, open account, account

stated, and infliction of emotional distress. From the outset, Defendants filed their

amended pleading without leave of court and in contravention of Federal Rule of

Civil Procedure 15(a)(2). On this basis alone, the Court should strike Defendants’

Amended Answer and Counterclaims from the record.

      Additionally, in the present circumstance, Defendants did not simply amend

their pleadings, as permitted by the Stipulation of Parties which has been approved

by the Special Master and entered by the Court (assuming arguendo that leave of

court had been sought and granted, which did not occur). The Court should not

allow Defendants, including Defendants Annette Carr (“Carr”) and Matthew Wester

(“Wester”), to assert completely new counterclaims at this stage of the litigation

when both Carr and Wester were fully aware of the factual allegations from which

the newly added counterclaims arise – as well as their right to assert these



                                         2
       Case 5:15-cv-02207-MHH Document 156 Filed 10/29/18 Page 3 of 43



counterclaims – even prior to commencement of this lawsuit approximately three (3)

years ago. Defendants have no valid excuse for waiting until after written discovery

as well as the ESI proceeding have been substantially completed before unilaterally

taking the liberty of amending to assert brand new counterclaims.

      Similarly, the newly added counterclaims are compulsory in nature, meaning

Defendants were required to assert them contemporaneously with their original

answer and are now barred from asserting them.

      Compounding matters, the majority of the underlying facts alleged within

Defendants’ amended answer and counterclaims are scandalous and impertinent to

the litigation, including personal attacks on Plaintiff Ben Turnage as well as attacks

on the Special Master’s recent discovery rulings.         It is readily evident that

Defendants’ newly pled counterclaims are meant solely to harass Plaintiffs and lack

any material basis in law or fact. The Court should not permit the unilateral addition

of this plethora of new counterclaims at this late stage in the litigation, as allowing

Defendants to do so would unduly prejudice Plaintiffs.

      Indeed, the ESI discovery proceeding, which has been conducted at

tremendous expense to Plaintiffs, has essentially concluded in most material

respects.   Defendants’ have therefore unilaterally pled their newly conjured

counterclaims after the parties have drafted hundreds of complex ESI search terms,

exchanged the terms, run searches on their respective ESI using the terms, and



                                          3
       Case 5:15-cv-02207-MHH Document 156 Filed 10/29/18 Page 4 of 43



thereafter engaged in a lengthy process of revising the terms in order to appropriately

limit the amount of ESI data responsive to them. Plaintiffs also have completed the

process of reviewing the hundreds of thousands (if not close to millions) of

responsive ESI documents for privilege and formally produced to Defendants all

responsive, discoverable information of which they are aware. Defendants have

done likewise with respect to Plaintiffs’ ESI search terms, except that Defendants

continue to refuse to produce all responsive discovery in accordance with the Special

Master’s discovery rulings. Accordingly, allowing Defendants to “turn back the

clock” would result in a large portion of this ESI discovery essentially having to be

redone.   The Court should not allow this to occur.          At this point, under the

circumstances, the proverbial train has left the station.

      The reality behind Defendants’ surly pled counterclaims is that the

counterclaims are an expression of opposing counsels’ discontent with present status

of discovery proceedings and the procedural posture of this case.               Almost

immediately after Plaintiffs filed this lawsuit, Defendants began their strategy of

“force-feeding” the Court with repetitive filings challenging the Court’s initial denial

in full of Defendants’ motion to dismiss (including at least three instances along with

a request for reconsideration) brought under Federal Rule of Civil Procedure

12(b)(6). Within their repetitive filings, Defendants consistently have argued that

Plaintiffs’ claims constitute “shotgun” pleadings and that most should be dismissed



                                           4
        Case 5:15-cv-02207-MHH Document 156 Filed 10/29/18 Page 5 of 43



essentially in order to “clean up” the matters at issue in this lawsuit. The reality is

that Defendants’ strategy always was part of their efforts to limit the scope of this

lawsuit, including – most importantly – the scope of allowable discovery, as part of

Defendants’ efforts to conceal their wrongful conduct.

       At present, Defendants’ strategy finally is beginning to unravel, and opposing

counsel is unhappy that their clients’ misconduct finally is being revealed. Very

recently, for example, Defendants for the first time divulged – only after the ESI

process has concluded in most material respects – that one of their clients1 actually

possesses some type of external device on which a significant amount of Gemstone’s

corporate data was downloaded and stolen.2 Within their Original Complaint, and

from the very first teleconference held by this Court, Plaintiffs have continually

alleged that Defendants have wrongfully stolen and/or deleted Gemstone’s corporate

data for their own personal benefit and to Plaintiffs’ detriment. Despite the fact that

Defendants have continuously refused for years to simply turn over all data relating

to the poultry industry stored on the laptop of Defendant Michael Ensley (“Ensley”),

which was generated during the period of Ensley’s employment with Plaintiffs and


1
  As of the present date, opposing counsel has refused to divulge the identity of this “mystery”
client.
2
  The Special Master presently is reviewing the scope of this information to determine whether
any privileged information has become intertwined with Gemstone’s corporate data, and Plaintiffs
anticipate the return of their own corporate property soon. But the untimely disclosure of this
“issue,” which demonstrates precisely what Plaintiffs have alleged from the outset of this lawsuit,
has delayed the parties several months regarding their plan to commence the first “round” of
depositions in the case before the end of August, 2018.


                                                5
        Case 5:15-cv-02207-MHH Document 156 Filed 10/29/18 Page 6 of 43



is Plaintiffs’ corporate property and not Ensley’s, portions of Plaintiffs’ stolen data

finally are surfacing.

       Having demonstrated their disdain for the Court’s prior rulings as explained

above (and now apparently likewise with regard to the Special Master’s discovery
                                                                                                    3
rulings) by repetitively re-urging their same previously-denied arguments,

Defendants’ present strategy reveals their apparent determination to engage in a

mudslinging contest that includes unilaterally asserting as many facially deficient

counterclaims as they can possibly conjure in order to demonstrate their

disagreement with the course of proceedings thus far in the lawsuit. Put differently,

if the Court will not do what opposing counsel demands, counsel has demonstrated

they will force-feed the Court with their repetitive filings and spray the docket with

numerous unfounded and salacious counterclaims. And Defendants have done so in

spite of their delay in asserting these counterclaims until after conclusion of written

discovery and the ESI discovery proceeding.

       In addition, as will be explained in greater detail below, even assuming this

Court allows Defendants to assert their newly concocted counterclaims at this late

stage of the litigation, several of Defendants’ counterclaims (including their


3
  The most recent instance actually necessitated the Court’s setting of an in-person hearing so the
Court could explain in person and with painstaking detail that the Court has heard counsel’s
arguments, that the Court has fully considered and even reconsidered counsel’s arguments, and
that the Court has determined to deny Defendants’ request for dismissal of Plaintiffs’ claims at this
juncture in the litigation but will consider Defendants’ arguments for dismissal at the summary
judgment stage when all evidence has been fully developed.


                                                 6
       Case 5:15-cv-02207-MHH Document 156 Filed 10/29/18 Page 7 of 43



counterclaim for abuse of process; Wester’s claims for breach of contract and

fraudulent inducement; and Carr’s claims for open account, account stated, quantum

meruit, and infliction of emotional distress) are deficient as a matter of law and thus

also are barred by the doctrine of futility.

      First, Defendants’ abuse of process claim is based primarily on (1) Plaintiffs’

filing of their Complaint as well as their amendment thereto, (2) Plaintiffs’ purported

bad faith motivations, and (3) Plaintiffs’ alleged discovery violations. Yet as a

matter of law, none of the bases on which Defendants seek to proceed – the filing of

a complaint commencing an ongoing lawsuit (whether or not the opposing party

believes the complaint is frivolous), purported discovery violations in an ongoing

lawsuit (which already have been addressed by the Special Master), and/or

prosecuting an ongoing lawsuit while harboring bad faith motivations (which, again,

Plaintiffs dispute) – give rise to claims for abuse of process. Because Defendants

have failed to allege an actual abuse of process under Alabama law, the Court should

strike this counterclaim under the doctrine of futility.

      Next, Wester’s claim for breach of contract and fraudulent inducement claims

are wholly conclusory and are undergirded by insufficient facts to sustain the claims,

even if taken as true. These claims therefore should likewise be stricken under the

doctrine of futility. Under the plain terms of the inducement agreement referenced

by Defendants, as will be further explained below, Plaintiffs agreed that information



                                               7
       Case 5:15-cv-02207-MHH Document 156 Filed 10/29/18 Page 8 of 43



gathered through any interviews with their private investigator would not be utilized

in the present lawsuit. Wester has failed to even allege what information, if any,

Plaintiffs have used in this litigation that purportedly would constitute breach of this

agreement. Moreover, Wester’s inducement claims also are barred by the statute of

limitations.

       Lastly, Defendant Carr cannot state a claim for relief on an open account, for

account stated, for quantum meruit, or for intentional infliction of emotional distress

(IIED). Carr has failed to even allege the basic elements of these claims, much less

plead plausible facts in support of them. In addition, as a matter of law, a party

cannot state a counterclaim for IIED as a result of being named a defendant in an

ongoing lawsuit. Again, the doctrine of futility bars these claims from going

forward.

       Defendants’ newly pled counterclaims therefore can only be meant to harass

Plaintiffs, including Ben Turnage personally, and to bog down what already is an

extremely complex lawsuit, rather than to serve the interests of justice. For these

reasons, this Court should strike Defendants’ Amended Answer and Counterclaims,

particularly under circumstances where Defendants have never even sought leave of

court to file the amendments and, furthermore, have filed the amendments at this late

stage of the litigation.




                                           8
       Case 5:15-cv-02207-MHH Document 156 Filed 10/29/18 Page 9 of 43




                               MATERIAL FACTS

      1.     On January 9, 2015, Plaintiffs entered an inducement agreement with

Matthew Wester. The inducement agreement stated as follows:




      2.     On July 14, 2015, Michael Ensley and A&M Consulting, LLC, filed

suit against Ben O. Turnage, et al., in the United States District Court for the

Northern District of Alabama, Civil Action NO. 5:15-cv-01179.

      3.     On October 19, 2015, Gemstone Foods, LLC, and RCF, LLC, filed suit

against AAA Foods, Inc., et al., in the Circuit Court of Morgan County, Alabama,

Civil Action No. 5:15-cv-01836.

      4.     Defendants filed a notice of removal of the state court action from

circuit court [Civil Action No. 5:15-cv-01836] to the United States District Court for

the Northern District of Alabama. Thereafter, before Defendants filed their Answer,

Plaintiffs filed a Notice of Voluntary Dismissal Without Prejudice under Federal

Rule of Civil Procedure 41(a)(1)(i) in Civil Action 5:15-cv-01836-HGD.


                                          9
      Case 5:15-cv-02207-MHH Document 156 Filed 10/29/18 Page 10 of 43



       5.     Plaintiffs filed their Original Complaint in this action on December 2,

2015, Civil Action 5:15-cv-02207-MHH. [Doc. 1]. Within their Original Complaint,

Plaintiffs alleged that in connection with other Defendants, Defendant Wester

violated the federal Civil RICO statute and committed predicate acts of racketeering

activity, along with other common law causes of action.4

       6.     The parties in Gemstone Foods, LLC et al. v. AAA Foods, Inc. et al.,

No. 5:15-cv-02207-MHH, and Michael Ensley et al. v. Ben O. Turnage et al., No.

5:15-cv-01179-HGD, filed a joint motion to consolidate the above lawsuits for

purposes of discovery, pretrial proceedings, and trial. The Court entered an order

consolidating the two cases as requested by the parties.5

       7.     After pursuing multiple motions to dismiss in which Defendants

reargued the same legal theories the Court had already considered and denied

(Defendants ultimately sought rulings from the Court on the same issues as many as

four times, including a motion to reconsider), Defendants finally filed their Answer

and Affirmative Defenses on July 27, 2017, which included limited counterclaims

against Gemstone Foods, LLC, and RCF, LLC filed by AAA Foods, Inc., and

Annette Carr.6




4
  See Docket No. 1.
5
  See Docket No. 60.
6
  See Docket No. 102.


                                         10
       Case 5:15-cv-02207-MHH Document 156 Filed 10/29/18 Page 11 of 43



       8.     By agreement of the parties and pursuant to Federal Rule of Civil

Procedure 53, the Court appointed Honorable J. Cal Mayo, Jr., as Special Master to

handle the mounting discovery disputes between the parties.7 Under the Court’s

Order, the parties agreed that

       [i]f the parties cannot resolve a discovery dispute informally, then the
       parties may file a discovery motion with the Court. If the Court
       receives a discovery motion, then the Court will refer the motion to Mr.
       Mayo, and Mr. Mayo shall prepare and file with the Court a report and
       recommendation concerning the discovery motion. The Court will
       review any report and recommendation consistent with the procedures
       outlined in Federal Rule of Civil Procedure 53(f).8

       9.     Throughout this litigation, various discovery disputes have arisen, as

noted above, and the parties have filed multiple motions to compel.9 Each party has

respectively alleged numerous discovery abuses by the other.10 In their motions,

Defendants alleged that Plaintiffs provided inadequate discovery responses, missed

multiple deadlines, and misrepresented their efforts to gather and preserve ESI,

among other allegations.11

       10.    On October 1, 2018, Defendants filed an Amended Answer and

Counterclaims in which Defendants now assert completely new counterclaims,


7
  See Docket No. 83.
8
  Id.
9
  See Docket Nos. 110, 129, 135, 137, and 139.
10
   Id.
11
   Id. Defendants’ counsel have even wrongfully accused Plaintiffs’ counsel of being “liars” on
multiple occasions. Whether wrong or right, however, these bald accusations are distasteful at
best. Yet Defendants’ unprofessionalism, Plaintiffs’ counsel have refused to “get in the mud” and
wallow with Defendants’ counsel.


                                               11
       Case 5:15-cv-02207-MHH Document 156 Filed 10/29/18 Page 12 of 43



including an abuse of process claim based on the procedural history of the present,

ongoing lawsuit, which ultimately led to the Court’s consolidation order in this case,

along with various purported discovery violations.12 Likewise, Defendant Wester

pled entirely new counterclaims based on theories of breach of the inducement

agreement and fraudulent inducement.13

       11.    While the Stipulation of Parties jointly filed on June 18, 2018, provides

that “[t]he parties shall amend all pleadings by October 1, 2018[,]”14 Defendants

failed to seek leave of court prior to filing their Amended Answer and

Counterclaims. Plaintiffs can find no case law from Alabama’s district courts which

allows a party to unilaterally amend its pleadings without first requesting leave of

Court to do so. On the other hand, numerous published cases exist that demonstrate

leave of court must be granted prior to filing amended pleadings, regardless of

whether the party seeking leave to amend has done so within the deadline for

amendments to pleadings.

       12.    The factual allegations on which Defendants’ newly pled abuse of

process counterclaim is predicated appear at Paragraphs 45 through 59 of their

Amended Answer and Counterclaims.15 Within their allegations, Defendants argue




12
   See Docket No. 149.
13
   Id.
14
   See Docket No. 147.
15
   See Docket No. 149.


                                          12
       Case 5:15-cv-02207-MHH Document 156 Filed 10/29/18 Page 13 of 43



that Plaintiffs and Ben Turnage have abused the litigation process by filing meritless

claims “to avoid paying Ensley and Carr the amounts owed to them” along with

committing numerous purported discovery violations.16

       13.    On October 2, 2018, the Court entered a text Order, finding as moot the

pending motions to compel discovery, including docket numbers 110, 129, 135, 137,

and 139.17 The Court further expressed its understanding that “the parties have been

working with the Special Master to resolve their discovery disputes.”18

       14.    Defendants also improperly allege that Plaintiffs filed a “frivolous”

motion for preliminary injunction,19 that Plaintiffs have missed or delayed over 100

deadlines, 20 that Plaintiffs’ counsel lied about Plaintiffs’ process of collecting

electronically stored information (as noted above),21 and that Plaintiffs intentionally

failed to preserve ESI and destroyed evidence.22 Plaintiffs obviously dispute the vast

majority if not all of Defendants’ surly, sordid allegations.

                                   STANDARDS

       Federal Rule of Civil Procedure 15(a)(2) provides as follows:

       (a) Amendments Before Trial.

       ***

16
   Id.
17
   See Docket No. 150.
18
   Id.
19
   Id. at ¶49.
20
   Id.
21
   Id.
22
   Id. at ¶57.


                                          13
      Case 5:15-cv-02207-MHH Document 156 Filed 10/29/18 Page 14 of 43




      (2) Other Amendments. In all other cases, a party may amend its
      pleading only with the opposing party’s written consent or the court’s
      leave. The court should freely give leave when justice so requires.

Also, regarding amendments to pleadings, the rule of the Eleventh Circuit Court of

Appeals is that “[a] district court is not required to grant a [party] leave to amend

[its] complaint sua sponte when the [party], who is represented by counsel, never

filed a motion to amend nor requested leave to amend before the district court.

Wagner v. Daewoo Heavy Industries Am. Corp., 314 F.3d 541, 542 (11th Cir. 2002).

The Eleventh Circuit also has held that “[a]lthough leave to amend should be

liberally granted, a trial court is not required sua sponte to grant leave to amend prior

to making its decision.” Burger King Corp. v. Weaver, 169 F.3d 1310, 1318 (11th

Cir. 1999). Under circumstances where the movant never files a motion for leave to

amend, the Eleventh Circuit holds that no abuse of discretion can exist when a

district court decides not to grant leave to amend. Id.

      As an additional basis of authority for striking Defendants Amended Answer

and Counterclaims, Federal Rule of Civil Procedure 12(f) provides that, upon

motion, the “court may order stricken from a pleading any insufficient defense or

any redundant, immaterial, impertinent, or scandalous matter.” In re Healthsouth

Corp. Sec. Litig., 2000 WL 34211319, at *52 (N.D. Ala. Dec. 13, 2000) (citing Fed.

R. Civ. P. 12(f)).




                                           14
      Case 5:15-cv-02207-MHH Document 156 Filed 10/29/18 Page 15 of 43



      With regard to the substantive nature of the newly asserted counterclaims,

Federal Rule of Civil Procedure 12(b)(6) “enables a defendant to move to dismiss a

complaint for ‘failure to state a claim upon which relief can be granted.’” United

Gov’t Sec. Officers of Am. v. Tennessee Valley Auth., 2017 WL 1196960, at *1 (N.D.

Ala. Mar. 31, 2017) (citing Fed. R. Civ. P. 12(b)(6)). “A Rule 12(b)(6) motion to

dismiss tests the sufficiency of a complaint against the ‘liberal pleading standards

set forth by Rule 8(a)(2).’” Id. (citing Erickson v. Pardus, 551 U.S. 89, 94 (2007)).

“When evaluating a Rule 12(b)(6) motion to dismiss, a district court accepts as true

the allegations in the complaint and construes the allegations in the light most

favorable to the plaintiff.” Id. (citing Brophy v. Jiangbo Pharms. Inc., 781 F.3d

1296, 1301 (11th Cir. 2015)).

I.    This Court Should Strike and/or Disallow Defendants’ Amended Answer
      and Counterclaims.

      A.     Defendants’ Amended Answer and Counterclaims Should Be Stricken
             Because It Was Filed Without Leave of Court and in Contravention of
             Federal Rule of Civil Procedure 15(a)(2).

      Regarding Defendants failure to seek leave of court prior to filing their

Amended Answer and Counterclaims, Plaintiffs cannot improve upon the cogent

analysis explained by this district’s now-retired Honorable District Court Judge

William M. Acker, Jr. Accordingly, Judge Acker’s analysis is set forth in full (in

pertinent part) below:




                                         15
Case 5:15-cv-02207-MHH Document 156 Filed 10/29/18 Page 16 of 43



Without seeking or obtaining leave of court, [the movant], on
December 29, 2008, purported to file both an amended answer and a
counterclaim. [The nonmovant] promptly moved to strike [the
movant’s] purported pleadings for the reason that they were filed in
violation of Rule 15(a)(2), F.R.Civ.P., that requires prior leave of court
or the written consent of the opposing party.

In its surly response to [the nonmovant’s] motion, [the moving party]
says:

In an era of ever-declining professionalism in Birmingham, Plaintiff’s
counsel has attempted to reach a new low by filing a Motion to Strike
[the movant’s] First Amended Answer to Complaint and Counterclaim
(doc. 13), which was filed prior to the December29, 2008 deadline for
amending the pleadings set forth by the Court’s Rule 16 Scheduling
Order (doc. 9). As grounds for its motion, Plaintiffs asserts that [the
movant] is required to file a formal motion for leave to amend, even for
amendments filed prior to the Scheduling Order’s deadline. [The
nonmovant’s] motion is completely without merit, as the Scheduling
Order itself grants [the movant] leave to amend its Answer prior to
December 29, 2008.

The court is pleased to learn that unprofessionalism has not crept
beyond the borders of Birmingham.

Under the liberal rules for amending pleadings, this court would have
granted a motion by [the movant] for leave to amend its answer and
to file a counterclaim if such motion had been filed on December 29,
2008, along with the proposed pleadings, but no such motion
was filed. Instead, [the movant] insists that this court pre-granted the
required Rule 15(a)(2) motion by the simple expedient of entering the
scheduling order. [The movant’s] belief in this regard is erroneous.
What if [the movant] had timely filed a motion for leave to amend with
an accompanying proposed amended answer that was facially futile, or
totally spurious, or simply scurrilous? Can a scheduling order that fixes
a December 29, 2008 deadline for amending an answer mean that until
December 29, 2008, the party operating under the said deadline may,
with impunity, file whatever amendments he pleases, no matter how
strange they may be? Rule 15(a)(2) contemplates an opportunity for
the court to take a peek before a pleading is docketed. According to

                                   16
Case 5:15-cv-02207-MHH Document 156 Filed 10/29/18 Page 17 of 43



[the movant’s] reading of the scheduling order, it could,
without filing a single motion for leave, have amended its answer 40
times, so long as all 40 amendments were filed on or before December
29, 2008. Presumptively, [the movant] believes that it could have also
filed a counterclaim and several amendments to the counterclaim
without formal leave, that is, if filed before December 29, 2008. This
is not how this court and other courts interpret Rule 15(a)(2), and it is
certainly not what this court intended in its scheduling order. This court
regularly requires a formal motion for leave to amend during the period
that precedes the cutoff date for amendments.

It was not unprofessional of [the nonmovant’s] counsel to expect
opposing counsel to conform to this court’s routine expectations, as
well as to comply with the express instructions of Rule 15(a)(2). This
court’s long-held understanding of Rule 15(a)(2) was succinctly
captured as recently as December 23, 2008, by the Eastern District of
California [], where it said:

In the Discovery Order/Scheduling Order of April 28, 2008, Magistrate
Judge Snyder stated, “The deadline for amending the pleadings shall be
October 27, 2008.” (Doc. #36, p. 2.) That order set a deadline for
seeking leave to amend pleadings; it did not grant leave in advance
to file unknown pleadings by that date.

(emphasis supplied).

There are judges who, if no objection or motion to strike is filed in
response to pleadings filed without prior formal leave, deem them to
contain an implied motion for leave, and allow the pleading to be
docketed and considered. This court is more of a stickler than that,
believing that procedural rules have a purpose and must be followed.

Vulcan Mktg., Inc. v. Tech. Consumer Products, Inc., 597 F. Supp. 2d 1266,

1267-68 (N.D. Ala. 2009), amended on denial of reconsideration, 614 F.

Supp. 2d 1253 (N.D. Ala. 2009). Put differently,

[t]he deadline for amending pleadings provided in the court’s Rule
16(b) scheduling order does not dispense with the need to seek leave to

                                   17
      Case 5:15-cv-02207-MHH Document 156 Filed 10/29/18 Page 18 of 43



      amend. Although a deadline for amending pleadings in the scheduling
      order establishes an outside limit for seeking leave to amend without a
      showing of good cause, amendments sought within the deadline still
      must meet the requirements of Rule 15(a). The court of appeals
      consistently points to the language of Rule 15(a), even when a
      scheduling order has established a deadline for amendments.

Gulf Coast Visuals Mgt. Co., LLC v. Wedelstedt, 2:17-CV-121-TMP, 2018 WL

1244497, at *3 (N.D. Ala. Mar. 9, 2018).

      Applied to the present case, Defendants amendments, including their newly

asserted counterclaims, should be stricken from the record or otherwise prohibited

from proceeding because Defendants never sought leave of court to amend their

pleadings within the Court’s established deadline for seeking leave to amend. In

turn, now that the deadline has expired, Defendants clearly cannot demonstrate

“good cause” for reopening this deadline because as a matter of law, deficiencies in

counsel’s legal representation is not good cause. See Manigault v. Colvin, 2013 WL

12156674, at *3 (N.D. Ga. Mar. 19, 2013) (denying motion for leave to file amended

complaint, rejecting the plaintiff’s argument that her attorney’s inaction constituted

good cause under Federal Rule of Civil Procedure 15); Ping Chen ex rel. U.S. v.

EMSL Analytical, Inc., 966 F. Supp. 2d 282, 306 (S.D.N.Y. 2013) (attorney’s

inadvertence, neglect, mistake or misplaced reliance does not constitute good cause);

Pfeifer v. New Jersey Re-Ins. Co., 304 F.R.D. 478, 479 (D.N.J. 2015) (inadvertence

or lack of diligence of counsel are generally insufficient to establish good cause for

the extension of the time period); In re Harnischfeger Industries, Inc., 288 B.R. 79,

                                         18
      Case 5:15-cv-02207-MHH Document 156 Filed 10/29/18 Page 19 of 43



86 (Bankr. D. Del. 2003) (good cause will not be found based on inadvertence or

half-hearted efforts by counsel); U.S. ex rel. Cody v. Computer Scis. Corp., 246

F.R.D. 22, 26 (D.D.C. 2007) (mistake of counsel or ignorance of the rules of

procedure usually does not suffice to establish good cause). For this reason and this

reason alone, the Court should not allow Defendants’ amendments.

      When combined with Defendants’ additional acts of defiance of this Court’s

rulings, including the discovery rulings made by the Special Master as well as

Defendants’ unhinged over-aggression as demonstrated by their unilaterally filed

and obviously baseless counterclaims, together with the material prejudice Plaintiffs

will suffer if Defendants’ counterclaims are allowed to proceed at this stage of the

litigation, no compelling reasons exist to provide Defendants with any gratuitous

latitude at this point. Defendants’ counterclaims are out-of-time, baseless, and

wreak of defiance for the Court’s authority. The counterclaims would only serve to

significantly broaden the scope of the present litigation and require the parties to

essentially begin anew with discovery.

      B.     Likewise, Defendants Newly Asserted Counterclaims Are Barred.

      Instead, Defendants have asserted completely new counterclaims, at least one

of which is based on a contract that Defendants had never so much as even

referenced within their prior pleadings, as well as factual allegations of which




                                         19
      Case 5:15-cv-02207-MHH Document 156 Filed 10/29/18 Page 20 of 43



Defendants were fully aware prior to the date on which the present lawsuit was first

commenced.

      This concept is foreign to undersigned counsel. While it is true that parties

must only demonstrate good cause for leave to amend under circumstances where

request to reopen deadlines is made after their expiration, Plaintiffs nevertheless

have never heard of a circumstance where parties are allowed to simply file amended

pleadings unilaterally and without leave of court. Indeed, material reasons exist for

the requirement that leave of court must be requested, including but not limited to

the opposing party’s right to oppose such a request on the basis of futility (just as

Plaintiffs have alleged in the present filing).

      The Court should strike and/or disallow the Amended Answer &

Counterclaims because Defendants unduly delayed in bringing these new

counterclaims. The new counterclaims will also require additional discovery at this

late stage of the litigation and unduly prejudice the Plaintiffs. Finally, many of the

new counterclaims are futile because Defendants cannot state a claim for relief under

Rule 12(b)(6). The amendments should be stricken.

      “A party failing to assert a compulsory counterclaim is barred from doing so

in the future, as the counterclaim has been waived.” Byrd v. Williams, 2016 WL

362404, at *4 (N.D. Ala. Jan. 29, 2016) (citing Brooks v. Peoples Nat’l Bank of

Huntsville, 414 So. 2d 917, 920 (Ala. 1982)). Here, because the Defendants failed



                                           20
      Case 5:15-cv-02207-MHH Document 156 Filed 10/29/18 Page 21 of 43



to file compulsory counterclaims of which they have been aware since the inception

of this lawsuit, this Court should strike the new compulsory Counterclaims. Id.

      “[T]he Federal Rules of Civil Procedure direct that parties be permitted to

amend pleadings ‘when justice requires.’” Id. (citing Fed. R. Civ. P. 15(a)(2)). Rule

15 “‘is not carte blanche authority to amend . . . at any time.’” Burkett v. American

Gen. Fin., Inc., 607 So.2d 138, 141 (Ala. 1992) (quoting Stallings v. Angelica

Uniform Co., 388 So. 2d 942, 947 (Ala. 1980)). The deadline in the scheduling order

does not curtail the trial court’s discretion in considering the merits of the offered

amendment. Blackmon v. Nexity Fin. Corp., 953 So. 2d 1180, 1189 (Ala. 2006)

(citing Moses.com Sec., Inc. v. Comprehensive Software Sys., Inc., 406 F.3d 1052,

1066 (8th Cir. 2005)).

      “A district court need not allow an amendment (1) where there has been undue

delay, bad faith, dilatory motive, or requested failure to cure deficiencies by

amendments previously allowed; (2) where allowing amendment would cause undue

prejudice; or (3) where amendment would be futile.” Bryant v. Dupree, 252 F.3d

1161, 1163 (11th Cir. 2001) (citing Foman v. Davis, 371 U.S. 178, 182 (1962)).

      Under the Scheduling Order, Defendants were permitted leave to amend

pleadings, not to file new counterclaims based on new theories years after the filing

of their initial Answer, after the parties have engaged in written discovery, and on

the eve of depositions. See Blackmon, 953 So. 2d at 1189 (citing Moses.com Sec.,



                                         21
       Case 5:15-cv-02207-MHH Document 156 Filed 10/29/18 Page 22 of 43



Inc., 406 F.3d at 1066 (holding that “the scheduling order merely prescribes the date

by which all [motions to amend] ‘shall be filed;’ the date on the scheduling order

does not confine the district court's consideration of the merits of such motions and

does not preclude it from finding that an amendment would result in prejudice”).

       Defendants have unduly delayed in bringing these new claims. Wester’s

breach of contract and fraudulent inducement claims are based on an inducement

agreement that he entered on January 9, 2015.23 Wester contends that Plaintiffs

breached this agreement when they filed the instant lawsuit, which occurred on

December 2, 2015.24 Accordingly, Wester has been aware of these alleged causes

of action since the filing of this action and has only now asserted his counterclaim.25

He should be barred from doing so due to his inexcusable delay. As the Eleventh

Circuit has ruled,

       [t]hough we are mindful of the fact that [the movant] was unable to
       obtain important information needed to pursue this claim until [a key]
       deposition in March of 1994, it appears that the basic facts giving rise
       to the retaliation theory were available when the second amended
       complaint was filed. The considerable delay in seeking to amend the
       complaint . . . appears to have been unwarranted.

Jameson v. Arrow Co., 75 F.3d 1528, 1535 (11th Cir. 1996).




23
   See Docket No. 149-1.
24
   See Docket No. 1.
25
   See Docket No. 149-1.


                                          22
      Case 5:15-cv-02207-MHH Document 156 Filed 10/29/18 Page 23 of 43



      In addition, Carr’s new counterclaims for violation of the Alabama Sales

Representatives Contract Act, open account, account stated, and quantum meruit are

all based on alleged commissions earned in 2014 and 2015. These compulsory

claims were available to Carr years ago. In addition, Carr has been a defendant in

this lawsuit since 2015, and her purported emotional distress is not new. Carr should

not be permitted to await the end of discovery and on the eve of depositions to spring

completely new theories of recovery on Plaintiffs.

      Because Defendants have waited years without excuse to bring these

compulsory claims and failed to seek leave to amend to add new claims, this Court

should strike and/or disallow Defendants’ new counterclaims that have been

available to them since the inception of this lawsuit. See Blackmon, 953 So. 2d at

1189 (Ala. 2006) (citing Rector v. Better Houses, Inc., 820 So. 2d 75, 78 (Ala. 2001)

(holding that the trial court properly struck the amended complaint when the plaintiff

offered no reason to refute the trial court's finding that the new allegations in

the amended complaint were based on facts the plaintiff had known since the

beginning of the action); Burkett, 607 So.2d at 141 (holding that the trial court did

not exceed its discretion in striking the amended complaint where the plaintiffs had

learned of the facts underlying the new allegations six months before they attempted

to amend); Hester v. Int’l Union of Operating Engineers, AFL-CIO, 941 F.2d 1574,

1579 (11th Cir. 1991) (“Given the long history of this case, and the opportunities for



                                         23
         Case 5:15-cv-02207-MHH Document 156 Filed 10/29/18 Page 24 of 43



[Plaintiff] to attempt to cure the deficiencies in the complaint, [Plaintiff’s] proposed

amendment was clearly untimely; the district court did not abuse its discretion by

refusing to allow it.”).

         Not only have Defendants unduly delayed in bringing these new

counterclaims of which they have been aware for years, but their timing will unduly

prejudice Plaintiffs, if allowed. The discovery deadline is February 28, 2019.26 The

discovery in this case has been extremely contentious, requiring Plaintiffs to file

multiple motions to compel to receive even the most basic documents. To date,

Plaintiffs have not even received basic documents in discovery, including Carr and

AAA’s bank statements which were required to be produced.

         After the Court just denied the pending motion to compel as moot, 27

Defendants have filed completely new causes of action that will require additional

discovery in this case. Indeed, the face of the counterclaims makes clear that

Defendants have brought these claims at the last minute to harass the Plaintiffs and

not for the interests of justice.

         Based on Defendants’ dilatory conduct, Plaintiffs will need to conduct

additional discovery as to Wester’s entry of the inducement agreement, including

anyone Wester spoke with regarding the inducement agreement as well as his alleged



26
     See Docket No. 148.
27
     See Docket No. 150.


                                          24
      Case 5:15-cv-02207-MHH Document 156 Filed 10/29/18 Page 25 of 43



damages. Plaintiffs will also need production of all documents that Carr and AAA

contend support their claim for commissions under the Alabama Sales

Representatives’ Act, including all underlying documentation that has yet to be

produced by Carr and AAA in this action to date and all her alleged efforts to enter

sales contracts with vendors, including her work performed in 2015. Plaintiffs will

also have to conduct discovery on Annette Carr’s alleged IIED claim, which will

necessarily include interrogatory requests related to places she has received medical

treatment as well as documents requested for her medical records and medical

history. As the Court is well aware, medical records requests can take a substantial

amount of time not only to gather but also to review.

      Because Defendants have unduly delayed in amending to bring claims they

have known about for years, this Court should strike and/or disallow the new

counterclaims because they will materially prejudice Plaintiffs’ defense to these

allegations. Moreover, as set forth herein, certain of Defendants’ new counterclaims

are futile and meant solely to harass Plaintiffs, and Defendants cannot state a claim

under Federal Rule of Civil Procedure 12(b)(6).

II.   Defendants’ Counterclaim for Abuse of Process Fails To State a Claim
      under Federal Rule of Civil Procedure 12(b)(6).

      Defendants’ new counterclaims fail to state a claim for which relief may be

granted under Federal Rule of Civil Procedure 12(b)(6). The elements of the tort of

abuse of process are 1) the existence of an ulterior purpose, 2) a wrongful use of

                                         25
      Case 5:15-cv-02207-MHH Document 156 Filed 10/29/18 Page 26 of 43



process, and 3) malice. C.C. & J., Inc. v. Hagood, 711 So. 2d 947, 950 (Ala.

1998) (Triple J Cattle, Inc. v. Chambers, 621 So.2d 1221, 1225 (Ala. 1993)).

      A.     Defendants’ Abuse of Process Claim Fails To Set Forth a Plausible
             Claim under the Pleadings Standards of Federal Rule of Civil Procedure
             8(a)(2).

      Defendants baldly contend that Plaintiffs through Turnage have a practice of

abusing the litigation process to avoid paying legitimate debts and have in this case

made misrepresentations and destroyed evidence. These allegations are wholly

conclusory and are intended to retaliate against Plaintiffs for filing the present

lawsuit. Defendants allege no facts in support of their bald allegations in complete

violation of Federal Rule of Civil Procedure 8(a)(2).

      Plaintiffs must plead all facts establishing an entitlement to relief with more

than “labels and conclusions” or “a formulaic recitation of the elements of a cause

of action.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 55 (2007). The complaint

must contain enough facts to make a claim for relief plausible on its face; a party

must plead “factual content that allows the court to draw the reasonable inference

that the defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009) (citing Twombly, 550 U.S. at 570).

      In addition, Defendants’ allegations that Plaintiffs’ pleadings before the

Alabama state court were frivolous is wholly conclusory and in violation of Federal

Rule of Civil Procedure 8(a), thus providing another reason for dismissal. To date,



                                         26
       Case 5:15-cv-02207-MHH Document 156 Filed 10/29/18 Page 27 of 43



Defendants have attempted to have Plaintiffs’ Complaint dismissed numerous times

and in repetitive fashion. Despite Defendants’ refusal to accept this Court’s ruling

and apparent disdain for the Court’s authority, this Court has repetitively denied

Defendants’ redundant motions.

       Obviously upset over the present status of this litigation, Defendants continue

to disregard this Court’s rulings and have now filed an abuse of process claim

alleging frivolity with respect to Plaintiffs’ claims. Defendants, however, have

failed to provide any support for their contention that the Plaintiffs’ claims are in

fact frivolous, choosing instead to rely on bald allegations and conclusory labels:

            “In response to Ensley’s suit, and to avoid paying Ensley and
             Carr the amounts owed to them, Turnage, Gemstone, and RCF
             filed meritless claims in Alabama state court.”28

            “After Ensley and his co-defendants expended significant
             resources removing the state case to federal court, Turnage,
             Gemstone, and RCF dismissed the frivolous state court
             claims.”29

            “Turnage, Gemstone, and RCF knew from the outset that they do
             not have colorable claims.”30

            “Gemstone and Turnage also knew from the outset that they lack
             a colorable basis to accuse Defendants/Counterclaim-Plaintiffs
             of committing predicate acts of racketeering activity.”31



28
   See Docket No. 149 at ¶ 47.
29
   Id. at ¶ 48.
30
   Id. at ¶ 52.
31
   Id. at ¶ 53.


                                          27
          Case 5:15-cv-02207-MHH Document 156 Filed 10/29/18 Page 28 of 43



Defendants have alleged no facts that the claims filed by Gemstone and RCF were

meritless claims in Alabama state court or that the claims at issue in this case are

meritless or lack a colorable basis. Aside from alleged discovery violations, which

are addressed in detail herein, Defendants only specific allegation of lacking a

colorable claim relates to the pleading of a written cost-plus agreement. 32

          Again, even assuming the truth of this allegation, as set forth herein, an alleged

frivolous Complaint alone does not give rise to a cause of action for abuse of process.

See Kizer v. Finch, 730 So. 2d 1197, 1200 (Ala. Civ. App. 1998) (citing C.C. & J.,

Inc. v. Hagood, 711 So. 2d 947, 951 (Ala. 1998) (holding “[w]rongful activity

designed to create a claim [e.g., “manufacturing evidence”] goes to the initiation of

process, not to its later use. . . . Any question about the initiation of a judicial

proceeding is encompassed in a malicious prosecution claim, not an abuse of process

claim.”). Defendants have alleged no abuse of legal process after the initial filing

of the Complaint. Haynes v. Coleman, 30 So. 3d 420, 425 (Ala. Civ. App. 2009)

(citing Preskitt v. Lyons, 865 So.2d 424, 430 (Ala. 2003) (noting that

“[l]egal process has been defined . . . [is] ‘a summons, writ, warrant, mandate, or

other process issuing from a court.’” (emphasis added).




32
     Id. at ¶ 52.


                                              28
          Case 5:15-cv-02207-MHH Document 156 Filed 10/29/18 Page 29 of 43



          Because the Plaintiffs’ abuse of process claim is conclusory and does not

allege an abuse of legal process after the filing of the initial Complaint, this Court

should dismiss the counterclaim for abuse of process.

          B.      Plaintiffs’ Allegation of an Ulterior Motive Does Not Constitute Abuse
                  of Process.

          In addition to failing to comply with Rule 8(a)(2), Defendants’ bald

contentions fail to state a claim for which relief may be granted under Rule 12(b)(6),

including Defendants’ allegations that Plaintiffs abused process by (1) filing,

dismissing, and re-filing a frivolous lawsuit to avoid paying a debt and (2) by

engaging in discovery violations, including making misrepresentations and

destroying evidence.33 None of these factual allegations, even if taken as true for

purposes of this motion, suffices to state a claim for abuse of process under Alabama

law.

          Defendants allege that Plaintiffs’ lawsuits against Defendants have been

frivolous and Defendants filed them with an ulterior motive: to avoid paying debts

to Ensley and Carr.34 As an initial matter, Defendants cannot state a claim for abuse

of process by alleging that Plaintiffs filed a Complaint for an ulterior motive or any

allegedly frivolous pleading.




33
     Id. at ¶¶ 45-59.
34
     Id.


                                             29
      Case 5:15-cv-02207-MHH Document 156 Filed 10/29/18 Page 30 of 43



      A defendant is “not liable for abuse of process simply because it prosecuted

[the plaintiff] with an ulterior purpose.” Yeomans v. Forster & Howell, Inc., 2010

WL 3716394, at *12 (M.D. Ala. Sept. 10, 2010) (citing Hagood, 711 So. 2d at 950));

see also Simon v. Navon, 71 F.3d 9, 16 (1st Cir. 1995) (“[T]here is nothing per

se irregular in a plaintiff's filing a complaint that seeks high—even unrealistic—

damages,8 or in causing a litigation opponent to spend money in defense”).

      “Malicious prosecution concerns the wrongful issuance of process; abuse of

process concerns the wrongful use of process after it has been issued.” C.C. & J.,

Inc. v. Hagood, 711 So. 2d 947, 950 (Ala. 1998) (citing Warwick Dev. Co. v. GV

Corp., 469 So. 2d 1270, 1274 (Ala. 1985) (further citation omitted). Defendants

have failed to allege any “wrongful use of process after it has been issued” in

connection with the filing and dismissal of pleadings in accordance with Federal

Rule of Civil Procedure 41(a)(1)(i). Id.

      Here, Plaintiffs filed suit in state court and, after removal, dismissed those

claims in accordance with Federal Rule of Civil Procedure 41(a)(1)(i) and filed again

in federal court. “[A]buse of process will not lie [where] no result was obtained that

is unlawful or improperly attainable under the law.” Moon v. Pillion, 2 So. 3d 842,

847 (Ala. 2008) (citing Dempsey v. Denman, 442 So.2d 63, 65 (Ala.

1983)). Plaintiffs did not abuse process by dismissing the state law case after

removal, but before an answer. Defendants must allege that Plaintiffs abused



                                           30
        Case 5:15-cv-02207-MHH Document 156 Filed 10/29/18 Page 31 of 43



process after the filing of the lawsuit, not simply filed lawsuits. “Filing of a lawsuit is

a ‘regular’ use of process, and therefore may not on its own fulfill the requirement

of an abusive act, even if the decision to sue was influenced by a wrongful motive,

purpose or intent.” Simon v. Navon, 71 F.3d 9, 16 (1st Cir. 1995); see also,

e.g., Vahlsing v. Commercial Union Ins. Co., 928 F.2d 486, 490 (1st Cir. 1991)

(applying Texas law); Baubles & Beads v. Louis Vuitton, S.A., 766 S.W. 2d 377, 379

(Tex. Ct. App. 1989); Grell v. Poulsen, 389 N.W. 2d 661, 663-64 (Iowa 1986).

        In sum, because Defendants’ abuse of process claim fails under Federal Rules

of Civil Procedure 8(a) and 12(b)(6), this Court should dismiss this counterclaim

with prejudice.

        C.       Plaintiffs’ Alleged Discovery Abuses Do Not Give Rise To a Claim
                 for Abuse of Process.

        Defendants go to great lengths to describe various discovery violations

committed by Plaintiffs after the filing of the lawsuit, contending that Plaintiffs (1)

lied about collecting electronically stored information,35 (2) failed to preserve ESI,36

and (3) misrepresented their document preservation efforts and destroyed

evidence.37 These allegations do not constitute use of process and are at most baldly




35
   Id. at ¶55.
36
   Id. at ¶57.
37
   Id. at ¶58.


                                            31
         Case 5:15-cv-02207-MHH Document 156 Filed 10/29/18 Page 32 of 43



alleged complaints of discovery abuses.       Aside from the filing of the initial

Complaint, Defendants have failed to identify any subsequent abuse of process.

         Aside from violating Rule 8(a)(2) and Twombly’s plausibility requirements,

being wholly conclusory, Defendants completely ignore that this Court ordered that

the parties’ discovery disputes be submitted to the Special Master for resolution and

the parties agreed. Indeed, the Special Master has discussed the issues raised by

Defendants in their Counterclaims and recently this Court has found the Motion to

Compel to be moot.38 The Defendants should be prohibited from circumventing the

discovery process in this case and pursuing an untimely and deficient abuse of

process claim.

         In addition, Defendants’ allegations that Plaintiffs engaged in discovery

violations fail to support a claim for abuse of process as a matter of law. As several

courts have recognized, holding otherwise would turn every perceived discovery

violation into an abuse of process claim. See PPG Industries, Inc. v. Payne, No.

3:10–CV–73, 2012 WL 1836314, at *11 (E.D. Tenn. May 21, 2012) (granting

summary judgment on an abuse of process claim, which was based in part upon

“alleged excessive litigation tactics,” where litigation was “contentious” and there

was a “document dump[.]”); Westfield Ins. Co. v. Mitchell, 2013 WL 4742832, at *5

(S.D. W. Va. Sept. 3, 2013) (alleged intentional failure to produce documents under


38
     See Docket No. 150.


                                         32
      Case 5:15-cv-02207-MHH Document 156 Filed 10/29/18 Page 33 of 43



Rule 26(a)(1) “would not be sufficient to support an abuse of process claim[;]” at

most it would “suggest a violation of civil discovery rules.”) (quotations and citation

omitted); see also, Flores v. Emerich & Fike, 2008 WL 2489900, at *13 (E.D. Cal.

June 18, 2008) (“alleged involvement in the destruction of evidence” not an abuse

of process because “inherently part of the discovery process” and would be

“redressible under discovery rules[.]”).

       If this Court were to allow Defendants’ counterclaim arising from alleged

abuse of process based on a purported discovery violation in the very same action

which presently is being litigated, “every perceived instance of discovery abuse

would generate an additional lawsuit for abuse of process, and every lawsuit would

potentially generate ten more, ad infinitum, along the lines of The Sorcerer’s

Apprentice. This certainly cannot be.” State Farm Mut. Auto. Ins. Co. v. Universal

Rehab Servs., Inc., No. 2:15-CV-10993, 2017 WL 1304984, at *8 (E.D. Mich. Mar.

30, 2017).

       Accordingly, this Court should grant Plaintiffs’ Motion to Dismiss

Defendants’ Counterclaim for Abuse of Process.               Defendants should not be

permitted to wait until the eleventh hour to add a new claim for abuse of process

based on alleged discovery violations in a pending case.39 Holding otherwise would



39
 Indeed, the Court has held the pending discovery motions, which address the issues raised by
Defendants, as moot. As such, Defendants are collaterally estopped from raising those issues.


                                             33
         Case 5:15-cv-02207-MHH Document 156 Filed 10/29/18 Page 34 of 43



allow every party to amend to add a counterclaim every time a perceived discovery

violation occurred.

III.     Defendant Wester’s Counterclaims for Breach of Contract and Fraudulent
         Inducement Fail to State a Claim for which Relief Can Be Granted under
         Federal Rule of Civil Procedure 12(b)(6).

         Wester’s breach of contract claims likewise fails. The plain terms of the

inducement agreement state that Plaintiffs will not bring suit for anything said in the

interview, not that the Plaintiffs would never, under any circumstances, bring suit

against Wester.40 In the inducement agreement, Plaintiffs agree that “it will not use

any information obtained in the interview with you in connection with

prosecution of any perceived misdeed[.]”41

         The counterclaim fails to allege the information that Plaintiffs learned in the

interview and has employed as a basis for bringing the instant lawsuit in violation of

the inducement agreement. Therefore, Wester’s counterclaim for breach of contract

fails under the pleadings standards of Federal Rule of Civil Procedure 8(a) as well

as under Twombly’s plausibility standard. Vaughn v. Outokumpu Stainless Steel

USA, LLC, 2018 WL 4137086, at *1 (S.D. Ala. Aug. 7, 2018) (citing Twombly, 550

U.S. at 555) (Post-Twombly, “a plaintiff’s obligation to provide the ‘grounds’ of his

‘entitlement to relief’ requires more than labels and conclusions, and a formulaic



40
     See Docket No. 149-1.
41
     Id. (emphasis added).


                                            34
      Case 5:15-cv-02207-MHH Document 156 Filed 10/29/18 Page 35 of 43



recitation of the elements of a cause of action will not do. . . . Factual allegations

must be enough to raise a right to relief above the speculative level[.]”).

      Likewise, the fraudulent inducement claim fails to allege that Russell intended

to deceive Wester when making the alleged material misrepresentations about a

future event. Deng v. Scroggins, 169 So. 3d 1015, 1024 (Ala. 2014) (“If fraud is

based upon a promise to perform or abstain from performing in the future, two

additional elements must be proved: (1) the defendant’s intention, at the time of the

alleged misrepresentation, not to do the act promised, coupled with (2) an intent to

deceive.”). Therefore, this claim should be dismissed as well.

      The fraudulent inducement claim is also barred by the statute of limitations

and should be dismissed. Sirmon v. Wyndham Vacation Resorts, Inc., 922 F. Supp.

2d 1261, 1272 (N.D. Ala. 2013) (Alabama’s statute of limitations for claims based

upon fraud or fraudulent inducement is two years). “The two-year limitations period

begins to run when a plaintiff is privy to facts which would ‘provoke inquiry in the

mind of a [person] of reasonable prudence, and which, if followed up, would have

led to the discovery of the fraud.’” Id. (citing Auto-Owners Ins. Co. v. Abston, 822

So. 2d 1187, 1195 (Ala. 2001) (quoting Willcutt v. Union Oil Co., 432 So. 2d 1217,

1219 (Ala. 1983)). Here, Plaintiffs filed their Original Complaint in December of

2015. The statute of limitations on Wester’s fraudulent inducement claim thus ran




                                          35
      Case 5:15-cv-02207-MHH Document 156 Filed 10/29/18 Page 36 of 43



in December of 2017. This Court should therefore dismiss Wester’s counterclaim

with prejudice.

IV.   AAA and Carr’s New Counterclaims Fail To State a Claim for Which
      Relief Can Be Granted under Federal Rule of Civil Procedure 12(b)(6).

      Assuming this Court allows Carr to bring completely new claims at the

eleventh hour, this Court should dismiss these claims under Federal Rule of Civil

Procedure 12(b)(6), including the counterclaims for IIED, open account, account

stated, and quantum meruit.

      In American Road Service Co. v. Inmon, 394 So.2d 361 (Ala.1980), the

Supreme Court of Alabama recognized the tort of outrage. Brassfield v. Jack

McLendon Furniture, Inc., 953 F. Supp. 1438, 1452–53 (M.D. Ala. 1996). “Under

the tort of outrage, liability is imposed for ‘unprivileged, intentional or reckless

conduct of an extreme and outrageous nature, and only that which causes severe

emotional distress.’” Id. (citing Inmon 394 So. 2d at 365). “The court emphasized

the severity of the conduct required to support an outrage claim: ‘conduct

so outrageous in character and so extreme in degree as to go beyond all possible

bounds of decency, and to be regarded as atrocious and utterly intolerable in a

civilized society.’” Id.

      “To establish the tort of outrage, the plaintiff must prove three elements: ‘(1)

the actor intended to inflict emotional distress, or knew or should have known that

emotional distress was likely to result from his conduct; (2) the conduct was extreme

                                         36
       Case 5:15-cv-02207-MHH Document 156 Filed 10/29/18 Page 37 of 43



and outrageous; and (3) the distress was severe.’” Id. (citing Moore v. Spiller

Associated Furniture, Inc., 598 So.2d 835 (Ala.1992) (quoting Perkins v. Dean, 570

So.2d 1217, 1219 (Ala.1990)).

       Carr cannot state claim for intentional infliction of emotional distress for filing

an allegedly frivolous Complaint against Carr. First of all, there are no facts that

support the bald allegation that the Complaint is frivolous. Rather, Carr broadly

exclaims that she is not a criminal and that the Complaint is baseless. Carr has

therefore failed to plead plausible facts giving rise to the claim for IIED. See Curry

v. Huntington Copper, LLC, 2014 WL 4828106, at *3 (N.D.N.Y. Sept. 29, 2014)

(“Even if Curry made these allegations knowing they are false, as a matter of law,

such is not sufficiently extreme and outrageous to state a plausible IIED claim”).42

In addition, if every time a litigant was sued, he or she had the right to counterclaim

for IIED (or outrage) by virtue of being named a defendant in a lawsuit, then the

Court systems would be overrun with frivolous counterclaims for IIED. This is not

and cannot be the law. Defendants have adduced no evidence that Plaintiffs’ conduct




42
   See also Harrison v. Luse, 760 F. Supp. 1394, 1402–03 (D. Colo. 1991) (holding, under the
circumstances of the case, that the filing of a frivolous and groundless civil action and the filing of
another civil action for the purpose of harassing, embarrassing, inconveniencing, and intimidating
the defendant did not reach the threshold level of conduct necessary to support a claim
for outrageous conduct); Early Detection Ctr., P.C. v. New York Life Ins. Co., 157 Mich. App. 618,
403 N.W.2d 830, 834 (1986) (holding that the filing of a groundless lawsuit was not of such
an extreme nature so as to be characterized as outrageous and atrocious).


                                                  37
         Case 5:15-cv-02207-MHH Document 156 Filed 10/29/18 Page 38 of 43



in bringing the lawsuit was extreme or outrageous. Finally, this IIED claim is barred

by statute of limitations. Ala. Code § 6-2-38.

         Carr’s additional counterclaims for open account, account stated, and

quantum meruit are also deficient as a matter of law. “A prima facie case on

an account stated is made when the plaintiff proves (1) a statement of

the account between the parties is balanced and rendered to the debtor; (2) there is a

meeting of the minds as to the correctness of the statement; and (3) the debtor admits

liability.” Mahoney v. Loma Alta Prop. Owners Ass'n, Inc., 4 So. 3d 1130, 1134

(Ala. Civ. App. 2008) (further citation omitted). Here, Defendants have not alleged

a statement of the account, a meeting of the minds, or the debtor’s admission of

liability.43 Rather, the Defendants simply allege that Plaintiffs owe commissions to

Defendants Carr and AAA. 44 This allegation is insufficient to state a claim for

account stated.

         Likewise, Defendants have failed to allege the necessary elements to state a

prima facie claim for open account. “A plaintiff establishes a prima facie case in an

action for money due on open account by presenting evidence that money was

delivered to the defendant, that it was a loan, and that it has not been repaid.” Ayers

v. Cavalry SVP I, LLC, 876 So. 2d 474, 478 (Ala. Civ. App. 2003) (citing Livingston



43
     See Docket No. 149 at ¶¶105-07.
44
     Id.


                                          38
      Case 5:15-cv-02207-MHH Document 156 Filed 10/29/18 Page 39 of 43



v. Tapscott, 585 So. 2d 839, 841 (Ala. 1991) (citing 58 C.J.S. Money Lent § 7

(1948)). Here, Defendants have not alleged delivery of money to Defendant, a loan,

or failure to repay a loan. Accordingly, this claim should be dismissed.

      Finally, Defendants’ quantum meruit claim fails to even allege the “accepted

services rendered by AAA Foods and Carr” including the time period that these

services were rendered or otherwise. This claim is likewise wholly conclusory and

without any factual support.

      In sum, this Court should disallow the new counterclaims not only because

the Defendants have delayed in asserting these counterclaims, causing prejudice to

Plaintiffs, but also because they as they are futile under Federal Rule of Civil

Procedure 12(b)(6).

V.    Alternatively, this Court Should Strike the Scandalous and Impertinent
      Allegations Set Forth Within Defendants’ Amended Counterclaims.

      Federal Rule of Civil Procedure 12(f) provides that, upon motion, the “court

may order stricken from a pleading any insufficient defense or any redundant,

immaterial, impertinent, or scandalous matter.” In re Healthsouth Corp. Sec. Litig.,

2000 WL 34211319, at *52 (N.D. Ala. Dec. 13, 2000) (citing Fed. R. Civ. P. 12(f)).

      The word “scandalous” in Rule 12(f) generally refers to any allegation that

“unnecessarily reflects on the moral character of an individual or states anything in

repulsive language that detracts from the dignity of the court.” S.D. v. St. Johns Cty.

Sch. Dist., 2009 WL 1941482, at *4 (M.D. Fla. July 7, 2009) (citing Khalid Bin Talal

                                          39
        Case 5:15-cv-02207-MHH Document 156 Filed 10/29/18 Page 40 of 43



v. E.F. Hutton & Co., 720 F. Supp. 671, 686 (N.D. Ill. 1989) (quotations and

citations omitted); S.E.C. v. Lauer, 2007 WL 1393917, at *2 (S.D. Fla. April 30,

2007) (striking as scandalous a letter that accused attorneys of immoral and

unethical conduct without any legitimate basis).

        Defendants baldly contend that Plaintiffs through Turnage have a practice of

abusing the litigation process to avoid paying legitimate debts and that Turnage,

Gemstone, and RCF have made misrepresentations throughout the discovery process

and destroyed evidence:

      “Turnage, Gemstone, and RCF larded their First Amended Complaint
       with false, hyperbolic, and distorted allegations that have no basis in
       reality. Indeed, when asked to identify basic facts underlying their
       RICO allegations, Turnage, Gemstone, and RCF could not nothing
       more than copy-and-paste the false allegations from their First
       Amended Complaint into interrogatories”;45

      “Making false allegations against a party to whom Ben Turnage owes
       money is consistent with his pattern and practice of filing litigation in
       bad faith to welch on debts owed to creditors and to avoid paying
       employees, business partners, and vendors money they are owed”;46

      “Turnage, Gemstone, and RCF lied about collecting electronically-
       stored information (ESI) by having their counsel inform defense
       counsel that ESI was being reviewed when it had not, in fact, been
       collected”);47

      “Turnage, Gemstone, and RCF also intentionally failed to preserve
       evidence”;48

45
   See Docket No. 149 at ¶53.
46
   Id. at ¶54.
47
   Id. at ¶55.
48
   Id. at ¶57.


                                           40
          Case 5:15-cv-02207-MHH Document 156 Filed 10/29/18 Page 41 of 43




       “Being a frequent litigant, Turnage knew that he could buy time by
        lying about his document collection efforts so that he could delete
        evidence and so that evidence held by Gemstone and RCF’s employees
        would be destroyed in the ordinary course of business”.49

Defendants’ allegations concerning Turnage’s propensity for frivolous litigation are

wholly conclusory with no factual support and are meant solely to harass and belittle

Turnage, unnecessarily attacking Turnage’s moral character and baldly accusing him

of deleting evidence.

          Moreover, personally attacking Turnage in the form of an eleventh-hour

counterclaim for abuse of process based on alleged misrepresentations in discovery

is impertinent to this litigation. The parties agreed and the Court has ordered that

Special Master Cal Mayo is to handle alleged discovery violations among the parties.

If Defendants nevertheless have issues with the discovery process and dispute Mr.

Mayo’ s rulings, they should (and have) pursue those issues with Mr. Mayo, with an

opportunity to appeal to this Court thereafter, instead of attempting to circumvent

the discovery process by filing a frivolous abuse of process claim.

          Accordingly, these allegations in the counterclaims likewise should be

stricken as scandalous and impertinent under Federal Rule of Civil Procedure 12(f).




49
     Id. at ¶58.


                                         41
      Case 5:15-cv-02207-MHH Document 156 Filed 10/29/18 Page 42 of 43




                                  CONCLUSION

      In sum, this Court should strike Defendants’ new counterclaims for abuse of

process, breach of contract, and fraudulent inducement. At this advanced stage of

the litigation, Defendants should not be permitted to now assert counterclaims they

have known about since the inception of this litigation. In addition, Defendants’

counterclaims are futile, meant solely to harass Plaintiffs and to circumvent the

Special Master’s discovery rulings in this case, and fail to state a claim for which

relief may be granted under Federal Rule of Civil Procedure 12(b)(6). But even

setting aside all of this, any of which provide the Court with a proper basis to grant

the relief sought by Plaintiffs, the death knell for Defendants’ counterclaims very

well might – in the Court’s discretion – that Defendants failed to ever even move for

leave to file their Amended Answer and Counterclaims prior to expiration of the

deadline for amendment of pleadings in this lawsuit. Indeed, even at present,

Defendants have not sought leave, so for this reason alone, as well, the Court should

strike Defendants’ amendments and newly asserted counterclaims.

      Respectfully submitted, this the 29th day of October, 2018.


                                               /s/ Michael A. Heilman
                                               Michael A. Heilman
                                               COUNSEL FOR PLAINTIFFS AND
                                               COUNTER-DEFENDANTS




                                         42
      Case 5:15-cv-02207-MHH Document 156 Filed 10/29/18 Page 43 of 43



OF COUNSEL:
Michael A. Akers (AL Bar No. 4331-R74M)
AKERS LAW GROUP, PLLC
P.O. Box 280
Brandon, Mississippi 39043
mikeakers@akerslawgroup.com

Michael A. Heilman (admitted pro hac vice)
John W. Nisbett (admitted pro hac vice)
HEILMAN LAW GROUP, P. A.
Meadowbrook Office Park
4266 I-55 North, Suite 106
Jackson, Mississippi 39211
Telephone: (601) 914.1025
Facsimile: (601) 960-4200
mheilman@heilmanlawgroup.com
jnisbett@heilmanlawgroup.com




                         CERTIFICATE OF SERVICE

      I certify that I electronically filed the foregoing with the Clerk of the Court

using the ECF system, which sent notification to all counsel of record.

      This the 29th day of October, 2018.


                                               /s/ Michael A. Heilman
                                               Michael A. Heilman




                                         43
